                  Case 4:10-cr-00159-LGW-CLR Document 834 Filed 10/23/15 Page 1 of 1
AO 247 (Rev. ll/ll)                 Motionfor SeDtence
                       OrderRegarding                               to I 8 U.S.C. ! 3582(cX2)
                                                     ReduciionPursuant                                  PageI of2         PublicDisclosure)


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                                      umrlo srarnsDrsrRrcr               COURT
                                                                    for the
                                                         SouthemDisnict of Georgia
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                                                             SavannahDivision
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                      United States of America
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                                                                           CaseNo: 4:10CR00159-14
                       Andre JeImaineMincey
                           aka, "Jumbo"
                                                                           USMNo:        15657-021
Dateof OriginalJudgment:        March30,201I
Dateof PreviousAmendedJudgment:                                            SlevenL. Beauvais
(Use Date of Lasl AmendedJudgnent iJ Aq,                                             Attorney
                                                                           Defendant's


                      ORDERREGARDING MOTTONFOR SENTENCBREDUCTION
                              PURSUANTTO 18 U.S.C.$ 3s82(c)(2)
        Upon motion of g the defendant I the Director ofthe Bureau ofPrisons I the Court under l8 U.S C.
                                                                                      guideline sentencingrange that has
$ 3582(cX2) for a reduction in the term of imprisonment imposed based on a
iubsequentlybeen lowered and made retroactiveby the United StatesSentencingCommissionpursuantto 28 U.S C
                                                                              policy statementset forth at USSG $181 10
$ 99+(u). and having consideredsuch motion, and taking into accountthe
and the sentencingfactors set forth in l8 U.S,C. $ 3553(a),to the extenl that they are applicable,
I T l S O R D E R E D t h a tt h e m o t i o ni s :
         n DENIED.              X GRANTED and the defendant'spreviously imposedsentenceof imprisonment1asreflected       in
                                  125months(65 monthsasto Count1,                     I 12months(52 monthsasto Count1,
thetartjudgment  issued)of plus60 monthsconsecutive   asto count l5) is reduced to plw !q Inolthl r9nl9glqyq ss!!!q!.! !l) .
                                             (CompleteParts I and II ofPage 2 vhen motion i3 granted)




Except as otherwiseprovided, all provisions ofthe judgment dated                                 1
                                                                                            lq,2q1                    in effect.
IT IS SO ORDERED,

        l0[a3/15
orderDare:

                                                                                            Dudley H. Bowen, Jr.
Effective Date:             November1:.?ql5                                              qnlled Statg!DistrictJudge
                       (if dffirent from orderclatel                                         Printed natueand title
